        Case 5:19-cv-00184-DPM Document 75 Filed 09/25/20 Page 1 of 2



             IN THE UNITED ST ATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      PINE BLUFF DIVISION

ALONZO HAMPTON
ADC #137559                                                    PLAINTIFF

v.                           No. 5:19-cv-184-DPM

JESSICA MICKELS, Correction Officer,
Cummins Unit, ADC; WILLIAM STRAUGHN,
Warden, Cummins Unit, ADC; CHRISTOPHER
BUDNIK, Deputy Warden, Cummins Unit, ADC;
and WENDY KELLEY, Director, ADC                            DEFENDANTS

                                  ORDER
       On de nova review, the Court adopts Magistrate Judge Ray's
recommendation, Doc. 71, and overrules Hampton's objections, Doc. 74.
FED.   R. Crv. P. 72(b)(3). Hampton hasn't exhausted his claims against
Wendy Kelley.       And taking the disputed facts in the light most
favorable to Hampton, the record doesn't show that Mickels, Straughn,
and Budnik were deliberately indifferent to a substantial risk of serious
harm Hampton faced. Nor does it show that they otherwise violated
his constitutional rights.
       In his objections, Hampton says that though he didn't know the
real names of the five men who threatened him, he offered to give
Budnik and others their nicknames. This dispute isn't material, though.
Norris wasn't one of the unknown folks who initially threatened
      Case 5:19-cv-00184-DPM Document 75 Filed 09/25/20 Page 2 of 2



Hampton;     instead, Hampton knew Norris because of previous
dealings they'd had at the Varner Unit. Thus, even if Budnik or another
official had accepted Hampton's list of nicknames, it wouldn't have led
them to Norris or otherwise prevented his attack.
     Defendants' motions for summary judgment, Doc. 27 & 58, are
granted. Hampton's claims against Kelley will be dismissed without
prejudice. His claims against Mickels, Straughn, and Budnik will be
dismissed with prejudice. Hampton's motion for partial summary
judgment, Doc. 49, is denied.
     So Ordered.

                                                I,
                                 D .P. Marshall Jr.
                                 United States District Judge




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